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                      IN THE UNITED STATES DISTRICT COURT

                 IN AND FOR THE DISTRICT OF UTAH
 _______________________________________________________


                                                   ) Case No. 2:14-cv-00884
TYLER WEBER; TRACY SARNO; JANET
YELDING; and JANAYE KEARNS                         )
                                                   ) OPPOSITION TO DIAMOND RANCH
                 Plaintiffs,                         ACADEMY’S MOTION TO DISMISS
                                                   )
vs.
                                                   )
                                                   )
DIAMOND RANCH ACADEMY a Utah                       )
Corporation; and DOES I through X,
inclusive,                                         )
                 Defendants                        )
                                                   )
________________________/



                                    INTRODUCTION

        Defendants’ 12(b)(6) motion identifies a multitude of issues, none of which

 supports their argument for dismissal. Under the standard of review for F.R.C.P.

 12(b)(6) motions, the district court must accept as true all factual allegations in

 the complaint. Berkovitz v. United States , 486 U.S. 531, 540 (1988). The court

 must also construe the complaint in the light most favorable to the pleader,

 Jenkins v. McKeithen, 395 U.S .411, 421 (1969), and may not dismiss unless it

 appears "beyond doubt that plaintiff can prove no set of facts in support of his


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claim [that would entitle him to relief." 2 Moore’s Federal Practice §12.34 [1][a]

at 12-56 (3rd ed. 1998) (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)


       A complaint need only conform to the notice pleading requirements of

F.R.C.P. Rule 8, Galbraith v. County of Santa Clara, 307 F.3d 1119 (9th Cir

2002); Swierkiewicz v. Sorema N.A. 534 U.S. 506 (2002) , 5A Wright & Miller,

Federal Practice and Procedure, § 1202 at page 68-76 (2d ed. 1990); Conley v.

Gibson , 355 U.S. 41, 47 (1957) ("[T]he Federal Rules of Civil Procedure do not

require a claimant to set out in detail the facts upon which he bases his claim.").


       Plaintiff’s Complaint (hereinafter the Complaint) satisfies F.R.C.P. Rule

8(a), as it contains "direct allegations on every material point necessary to sustain

a recovery on any legal theory…or allegations from which an inference fairly may

be drawn that evidence on these material points will be introduced at trial." 5A

Wright& Miller, Federal Practice and Procedure, § 1216 (2d ed. 1990).


       Diamond Ranch Academy (DNA) claims that this Court lacks subject

matter jurisdiction because it is a health care provider subject to prosecution only

under the aegis of the Utah Health Care Malpractice Ace that invokes a shorter

statute of limitations and a cap on recoverable damages . DRA supports its

motion by a mere Utah Department of Human Services residential treatment

center license.

       DRA does not support its motion by a license from the Utah Department

of Health because it cannot. It has no Health Care License. In the absence of a

Utah Department of Health Care license, its motion to dismiss is wholly


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premature. This Court, and these plaintiffs are not required to accept as true its

word that it is a health care provider supported only by a Department of Human

Services license.

       First of all, DRA bears no indicia of a health care provider. By name it

does not even purport to be a health care provider, but advertises that it is either

or both a ranch or an academy. A ranch grows livestock or grain to feed livestock.

An academy teaches classes. Both may have a few nurses and health care people

aboard just as does any public school.

       Secondly, What does DRA purport to treat? Its web site does not make

that clear any more than any private school or Outward Bound program. Most

have courses and athletic experience and teach something, but that does not

make them health care providers that would require an injured party to resort to

the Utah Health Care Medical Malpractice statute.

       Thirdly, DRA’s credentials are minimal when compared to a real mental

hospital. DRA would be hard pressed to prove that admittance requires referral

by practicing physicians, psychologists, psychiatrists, or nurses. Most, if not all,

its business comes from the parents or caretakers of truant kids. They send them

to DRA for reformation, not health care. It is a glorified reform school. There is

no screening. All truants are thrown together in three age groups regardless of

criminal records, addictions, sexual experience, or prior incarcerations.

       Fourth, DRA’s main purpose is to make money, not treat juveniles. Its

tuition compares with high-level preparatory schools or private colleges. DRA in

no way can justify its tuition by any level of care provided or the credentials of its


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staff.

         Fifth, DRA is isolated and secretive. No visitor is admitted who is not on

the student’s visitor list, which is usually restricted to the enrolling parent or

parents. Communication in and out is restricted and closely monitored. The

identity of anyone there enrolled is denied. There is no patient bill of rights.

There are no cameras recording what goes on. In short, there is no transparency,

as there would be in any legitimate health care provider. Legitimate mental

health care providers have no restrictions similar to those of DRA, and the care is

closely monitored, as opposed to the patient, not only on the inside, but on the

outside so that a patient is kept no longer than absolutely necessary, which

necessity is evaluated at routine intervals. At DRA, a youth might spend his or

her entire minority there so long as the money is available. If it runs out, the

student is suddenly no longer in need of DRA services. The length of stay,

therefore, depends on the money available, not on any clinical progress made.

         Lastly, the Complaint does not address health care, but False

Imprisonment, Personal injury, Child Abuse and Neglect, Fraudulent

Misrepresentation, and Actual and Constructive Fraud. DRA does not provide

health care, so no claim addresses health care.

         What it does is lock minors up without due process, keep them isolated for

as long as their minority, deprive them of their freedom, of their lives, education,

health, safety, and welfare, and leave them with a Stockholm syndrome or Post

Traumatic Stress Disorder. Thus, even were DRA a true health care provider

instead of a counterfeit one, Plaintiffs’ allegations against it are not for negligent


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health care, but for unprofessional and tortious wrongdoing having nothing to do

with health care. No medical expert witness is needed to support the allegations

of this complaint, so that this Court has subject matter jurisdiction over all that is

plead against DRA.

       More evidence is needed before this Court can strike its subject matter

jurisdiction over DRA as to the charges made against it. The Utah Health Care

Malpractice Act demands a shorter statute of limitations and a cap upon the

amount recoverable. Those advantages to DRA cannot be rendered on the basis

of a Human Services License without further factual inquiry after discovery.

                             ARGUMENT

     1. THIS COURT HAS SUBJECT MATTER JURISDICTION OVER
ALL TORT CLAIMS PLEAD BECAUSE EVEN WERE DRA A BONA
FIDE HEALTH CARE PROVIDER, THE NON PROFESSIONAL TORT
CLAIMS AGAINST IT DO NOT RELATE TO HEALTH CARE


       Medicine, defined as the science or practice of the diagnosis, treatment,

and prevention of disease is not practiced at DRA. Nothing Plaintiffs alleged

requires expert medical testimony in order to hold DRA liable according to the

allegations against it. The allegations against DRA, if proved, make it liable on

the basis of res ipsa loquitur.

         Additionally, even were this case a real medical malpractice case, DRA’s

abusive behavior is within the common knowledge exception, and requires no

expert witness testimony to establish the allegations made, Dalley v. Utah Valley

Reg'l Med. Ctr., 791 P.2d 193, 195-196 (Utah 1990); Bowman v. Kalm, 179 P.3d

754 (Utah, 2008).


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         There is ample authority to support the conclusion that a case where a

nurse drops a patient fits into this exception. See, e.g., Massey v. Mercy Med.

Ctr. Redding, 103 Cal. Rptr. 3d 209, 215 (Ct. App. 2009) (holding that, where

post-operative patient fell while under nurse’s supervision, expert testimony on

standard of care was not required since “common knowledge and experience can

be used to determine whether the patient fell because she . . . was insufficiently

attended to by medical personnel”); Davis v. Montgomery Cnty. Mem’l Hosp.,

No. 05-0865, 2006 WL 1896217, at *1, *4 (Iowa Ct. App. July 12, 2006) (rejecting

hospital’s claim that “the process of transferring a skilled-care patient from a bed

to the bathroom required expert testimony on the standard of care involved”

because it involved “nonmedical and routine” procedure within common

knowledge of jurors); Dimora v. Cleveland Clinic Found., 683 N.E.2d 1175, 1180

(Ohio Ct. App. 1996) (holding that patient who fell while being assisted by a

nurse fit within “common-knowledge exception” and patient was not required to

produce expert testimony to establish professional standard of care); McGraw v.

St. Joseph’s Hosp., 488 S.E.2d 389, 395-96 (W. Va. 1997) (holding that a patient

who fell while nurses were attempting to assist him back to bed raised issue

involving “routine hospital care” that did not require expert medical evidence to

establish a standard of care); Cramer v. Theda Clark Mem’l Hosp., 172 N.W.2d

427, 428-29 (Wis. 1969) (holding that patient’s fall involved “custodial or routine

hospital care” that was not so “complex or technical” as to require expert

testimony on the standard of care). A hospital patient whose call-light went

unanswered fell while trying to go to the bathroom on her own was not a medical


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malpractice case, Newhall v. Cent. Vt. Hosp., Inc., 133 Vt. 572, 573-74, 349 A.2d

890, 892 (1975).

                                                     DRA cites Platts v. Parents Helping Parents, 947 P.2d 658 (Utah 1997).

Platts requires the alleged health care provider to prove that it renders the same

or similar care and services as those providers expressly enumerated in the

Medical Malpractice Act statute. In Platts, the Utah Supreme Court remanded

the case to make that finding. This would be another question of material fact

that prevents dismissal of the complaint at this preliminary stage. Here,

however, it is clear that DRA cannot come close to rendering the same or similar

care and services as does an enumerated psychiatric hospital under the Health

Care Malpractice Act addressing the same mental health problems that Diamond

Ranch Academy purports to treat.1

                                                     DRA relies upon a Human Services License to justify its inclusion in the

Malpractice Act. In Platts,, the Utah Supreme Court, in reversing the Court of

Appeals decision, remarked: “The Court of Appeals reversed the trial court and,

in doing so, placed undue importance on titles…..However, the statute does not

address the similarity of titles, but rather the similarity of care and services.”

DRA does not render services similar to an enumerated psychiatric hospital

(meaning enumerated in the Act), because the human services code requires of a

residential treatment center no standards of treatment or the preservation of




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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	  	  No “Residential Treatment Center” is enumerated in the Utah Health Care Malpractice
Act, but such a facility is licensed under the Utah Human Services Code at R.501-19.


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patient rights as does the hospital code.2 Furthermore, The Utah case of Tools v.

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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      	  R432-101-15. Patients' Rights.

                          (1) Each patient shall be provided care and treatment in accordance with the standards
                        and ethics accepted under Title 58 for licensed, registered or certified health care
                        practitioners.

                           (2) There shall be a committee appointed by the administrator that consists of members
                        of the facility staff, patients or family members, as appropriate, other qualified persons with
                        knowledge of the treatment of mental illness, and at least one person who has no ownership
                        or vested interest in the facility. This committee shall:

           (a) review, monitor and make recommendations concerning individual treatment programs
        established to manage inappropriate behavior, and other programs that, in the opinion of the
        committee, involve risks to patient safety or restrictions of a patient's rights, or both;

           (b) review, monitor and make recommendations concerning facility practices and policies as
        they relate to drug usage, restraints, seclusion and time out procedures, applications of painful
        or noxious stimuli, control of inappropriate behavior, protection of patient rights and any other
        area that the committee believes need to be addressed;

                          (c) keep minutes of all meetings and communicate the findings to the administrator for
                        appropriate action;

                          (d) designate a person to act as a patient advocate, to be available to respond to questions
                        and requests for assistance from the patients and to bring to the attention of the committee
                        any issues or items of interest that concern the rights of the patients or their care and status;

                           (e) recommend written policies with regard to patient rights which are consistent with
                        state law. Once adopted, these policies shall be posted in areas accessible to patients, and
                        made available upon request to the patient, family, next of kin or the public.

           (3) The individual treatment plan and clinical orders shall address the following rights to
        ensure patients are permitted communication with family, friends and others. Restrictions to
        these rights shall be reviewed by the Patient Rights or Ethics Committee. Limitations to the
        rights identified in R432-101-15(3)(a) through (d) may be established to protect the patient,
        other patients or staff or where prohibited by law.

                        (a) Each patient shall be permitted to send and receive unopened mail.

          (b) Each patient shall be afforded reasonable access to a telephone to make and receive
        unmonitored telephone calls.

           (c) Each patient shall be permitted to receive authorized visitors and to speak with them in
        private.

           (d) Each patient shall be permitted to attend and participate in social, community and
        religious groups.



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Red Rock Canyon School, cited by DRA as cogent, is not persuasive for the point

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
           (e) Each patient shall be afforded the opportunity to voice grievances and recommend
        changes in policies and services to hospital staff and outside representatives of personal choice,
        free from restraint, interference, coercion, discrimination, or reprisal.

          (f) Each patient shall be permitted to communicate via sealed mail with the Utah
        Department of Human Services, the Utah Department of Health, the Legal Center for the
        People with Disabilities, legal counsel and the courts. The patient shall be permitted to
        communicate with and to visit with legal counsel or clergy of choice or both.

           (4) Each patient shall be afforded the opportunity to participate in the planning of his care
        and treatment. The patient's participation in the treatment planning shall be documented in
        the medical record.

           (a) Each patient shall receive an explanation of treatment goals, methods, therapies,
        alternatives and associated costs.

          (b) Each patient shall be able to refuse care and treatment, as permitted by law, including
        experimental research and any treatment that may result in irreversible conditions.

           (c) Each patient shall be informed of his medical condition, upon request, unless medically
        contraindicated. If contraindicated, the circumstances must be documented in the patient
        record.

          (d) Each patient shall be free from mental and physical abuse and free from chemical and
        physical restraints except as part of the authorized treatment program, or when necessary to
        protect the patient from injury to himself or to others.

          (5) Each patient shall be afforded the opportunity to exercise all civil rights, including
        voting, unless the patient has been adjudicated incompetent and not restored to legal capacity.

          (a) Patients shall not be required to perform services for the hospital that are not included for
          therapeutic purposes in the plans of care.
           (b) Patients shall not be required to participate in publicity events, fund raising activities,
        movies or anything that would exploit the patients.

          (c) Each patient shall be permitted to exercise religious beliefs and participate in religious
        worship services without being coerced or forced into engaging in any religious activity.

           (d) Each patient shall be permitted to retain and use personal clothing and possessions as
        space permits, unless doing so would infringe upon rights of other patients or interfere with
        treatment.

                          (e) Each patient shall be permitted to manage personal financial affairs, or to be given at least
                          a monthly accounting of financial transactions made on their behalf should the hospital
                          accept a patient's written delegation of this responsibility.

	  

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 that the Medical Practice Act governs the subject action. The federal court there

 was interpreting a Utah statute. It did not discuss the point that Red Rock, just

 as DRA, marketed itself as a school with students, not a residential treatment

 center treating patients, and should be estopped to raise the medical practice act

 in defense. In that case, the plaintiff alleged actionable medical failures, not

 nonmedical torts as Plaintiffs in this case have done. Furthermore, in that case,

 the Court admitted that whether Red Rock Canyon School was a “health care

 provider” was a factual issue, but the plaintiff did not present any facts. The

 Plaintiffs in this case want the opportunity to produce evidence pursuant to their

 discovery rights to show that DRA does not qualify as a Health Care Provider

 governed by the Utah Health Care Malpractice Act.

        Plaintiffs’ main complaint is that there are no patient rights or protections

 in the clandestine DRA facility. There, DRA does whatever it wants without

 transparency or accountability, a freedom completely foreign to health care

 practice.


 PLAINTIFFS HAVE ADEQUATELY STATED CAUSES OF ACTION
 UPON WHICH RELIEF MAY BE GRANTED


        Defendants’ charge of nonspecific pleading cannot be taken seriously,

 given the notice pleading requirements of the Federal Rules of Civil Procedure.

 Rule 8(a)’s simplified pleading standard applies to all civil actions, with limited

 exceptions. Thus, complaints in these cases, as in most others, must satisfy only

 the simple requirements of Rule 8(a). Other provisions of the Federal Rules of




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 Civil Procedure are inextricably linked to Rule 8(a)’s simplified notice pleading

 standard. Rule 8(e)(1) states that [n]o technical forms of pleading or motions are

 required, and Rule 8(f) provides that [a]ll pleadings shall be so construed as to do

 substantial justice.

        Given the Federal Rules simplified standard for pleading, [a] court may

 dismiss a complaint only if it is clear that no relief could be granted under any set

 of facts that could be proved consistent with the allegations. Hishon v. King &

 Spalding, 467 U.S. 69, 73 (1984). If a pleading fails to specify the allegations in a

 manner that provides sufficient notice, a defendant can move for a more definite

 statement under Rule 12(e) before responding.

        Moreover, claims lacking merit may be dealt with through summary

 judgment under Rule 56. The liberal notice pleading of Rule 8(a) is the starting

 point of a simplified pleading system, which was adopted to focus litigation on

 the merits of a claim. “The Federal Rules reject the approach that pleading is a

 game of skill in which one misstep by counsel maybe decisive to the outcome and

 accept the principle that the purpose of pleading is to facilitate a proper decision

 on the merits”, Swierkiewicz v. Sorema N.A. 534 U.S. 506 (2002);

        Some misguided federal courts, however, have seized upon and

 misinterpreted Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009), as imposing new rules

 or pleading standards overruling the Federal Rules of Civil Procedure. But. Iqbal

 did not create new pleading standards; it confirmed the pleading standards of

 Rule 8 that the Supreme Court had already articulated in” Bell Atl. Corp. v.

 Twombly, 550 U.S. 544 (2007). In both Twombly and Iqbal, the Supreme Court


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 could not have been more emphatic that it was “not impos[ing] a probability

 requirement at the pleading stage.” Twombly, 550 U.S. at 556; Iqbal, 129 S.Ct. at

 1949 (pleading standard is “not akin to a ‘probability requirement’”) (quoting

 Twombly, 550 U.S. at 556).

        Rather, the Court imposed a “‘plausibility standard,’” which asks only “for

 more than a sheer possibility that a defendant acted unlawfully.” Iqbal, 129 S.Ct.

 at 1949 (quoting Twombly, 550 U.S. at 556). Thus the plausibility standard

 “simply calls for enough facts to raise a reasonable expectation that discovery will

 reveal evidence of illegal” conduct. Twombly, 550 U.S. at 556. (emphasis added)

        In Twombly and Iqbal, the Court explained that, “[w]here a complaint

 pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short

 of the line between possibility and plausibility of entitlement to relief.’” Iqbal, 129

 S.Ct. at 1949 (quoting Twombly, 550 U.S. at 557); Twombly, 550 U.S. at 561.

 Under this standard, the allegations must “‘nudge [the] claims’ ... ‘across the line

 from conceivable to plausible.’” Id. at 1951 (quoting Twombly, 550 U.S. at 570);

 see also id. at 1950 (claim fails “where the well-pleaded facts do not permit the

 court to infer more than the mere possibility of misconduct”).

        Defendants ignore the narrow focus of the decision in Iqbal. The plaintiffs

 tried to impose liability for alleged constitutional violations by low-level jail

 officers not merely on their lieutenants and other supervisors, but on the

 Attorney General of the United States and the Director of the FBI. Accordingly,

 the Questions Presented, on which the Court granted certiorari, asked whether

 the allegations in Iqbal’s complaint were sufficient to plead a claim against “a


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 cabinet-level officer.” 129 S. Ct. at 1955-56 (Souter, J., dissenting). What the

 Supreme Court reviewed, and what it rejected, was the plaintiff’s extraordinary

 leap from alleged abuse by a jailhouse employee to vicarious liability for the

 Attorney General of the United States and the FBI Director. The Supreme Court

 took pains in Iqbal to limit its review of the pleadings solely to the allegations

 against the FBI Director and the Attorney General, who were “charged with

 responding to ‘a national and international security emergency unprecedented in

 the history of the American Republic.’” 129 S. Ct. at 1942-43, 1945. The Court

 went out of its way to note “that we express no opinion concerning the sufficiency

 of respondent’s complaint against the defendants who are not before us”

        Defendants object to allegations in the Complaint as “conclusory.” They

 apply this epithet to any declarative sentence whose substance they do not like.

 But a motion to dismiss requires analysis, not mere name-calling. The facts

 Plaintiffs have plead are entitled to a presumption of truth because they plead

 facially plausible claims. Id. at 1949.

        Furthermore, the specificity requirement is always relaxed when the facts

 Defendant claims it is entitled to are within its exclusive knowledge because it is a

 clandestine operation without transparency.

        In the landmark case of Committee On Children's Television, Inc. v.

 General Foods Corporation, 35 Cal. 3d 197; 673 P.2d 660; 1983 Cal. LEXIS 266;

 197 Cal. Rptr. 783, the Court, in denying Defendant’s demurrer, stated: [9] “The

 complaint would have to include thousands of pages setting out specifics which

 are largely within defendants' knowledge.”, and with respect to the fraud


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 allegation, stated: [13] “We observe, however, certain exceptions which mitigate

 the rigor of the rule requiring specific pleading of fraud. Less specificity is

 required when "it appears from the nature of the allegations that the defendant

 must necessarily possess full information concerning the facts of the

 controversy,"

             Plaintiffs have stated facts, not pleading formulas. DRA cannot deny that

 it is a locked down facility with no visitation or communication with the outside

 world; with no limitation other than majority on the term of incarceration; with

 no hearing or other due process procedure available by which to object to being

 locked up; no transparency by way of cameras or open visitation to evaluate its

 enforcement activities or strategies to inculcate obedience into the students; with

 no grievance procedure by which to contact the police or an attorney, as are

 available to a patient at a true health care provider. It is obvious on the face of it

 that DRA does business as a “ranch” or an “academy” or both, not an adolescent

 mental hospital, or residential treatment center. Its entire marketing plan is

 blatantly deceptive of its true nature. Plaintiffs, accordingly, have

 met the standard of plausibility and specificity in their pleadings.

                                         CONCLUSION

             Defendant’s Motion to dismiss, it is respectfully urged, should be itself

 denied on all grounds raised subject to the discovery to which the Plaintiffs are

 entitled under the Federal Rules of Civil Procedure.

        Dated: March 8, 2015




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                                     ____________/s/____________

                                            Thomas M. Burton
 	  




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